Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 1 of 12




                                                  18-CV-61060-COOKE/WHITE
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 2 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 3 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 4 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 5 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 6 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 7 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 8 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 9 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 10 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 11 of 12
Case 0:18-cv-61060-MGC Document 1 Entered on FLSD Docket 05/11/2018 Page 12 of 12
